Case 1:24-cr-00504-JGK Document15 Filed 09/19/24 Pageiofi

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
24-cer-504 (JGK)
- against -
ORDER

MICHAEL SMITH,
Defendant.

JOHN G. KOELTL, District Judge:

As stated at the conference held today, the next conference
in this case is scheduled for January 13, 2025, at 4:30 p.m.

The parties should advise the Court regarding the status of
discovery by November 8, 2024.
SO ORDERED.

Dated: New York, New York
September 18, 2024

“John G. Koeltl
United States District Judge

